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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

             Plaintiff,
                                  v.                   10-CR-188A(Sr)

MARGARITA ORTIZ,

           Defendant.
_____________________________________



                     REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.



                             PRELIMINARY STATEMENT

             The defendant, Margarita Ortiz, is charged in count 4 of a 13 count

indictment against 23 defendants with conspiracy to possess with intent to distribute,

and to distribute, five kilograms or more of a mixture and substance containing cocaine

and a mixture and substance containing marijuana, in violation of Title 21, United

States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in violation of Title 21

United States Code Section 846. Dkt. #1. The defendant also faces forfeiture of

money pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2), and

853(p). Dkt. #1.
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              The defendant filed an omnibus motion for discovery. Dkt. #233. The

government filed a response and request for reciprocal discovery. Dkt. #385. This

Report, Recommendation and Order addresses defendant’s request for dismissal of the

indictment and suppression of statements and evidence obtained pursuant to Title III

intercept orders.



                            DISCUSSION AND ANALYSIS

Dismissal of Indictment

              Defendant seeks dismissal of the indictment because there is no evidence

to suggest defendant’s involvement in the alleged conspiracy. Dkt. #233, pp.19-20.

However, the United States Supreme Court has determined “that an indictment, fair

upon its face, and returned by a properly constituted grand jury, conclusively

determines the existence of probable cause . . ..” Gerstein v. Pugh, 420 U.S. 103, 117,

n.19 (1975) (internal quotations omitted); See United States v. Monsanto, 924 F.2d

1186, 1196 (2d Cir. 1991) (“an indictment issued by a grand jury conclusively

establishes probable cause”). “[S]peculations that the grand jury has insufficient

evidence on which to indict . . . are not enough to overcome the presumption of

regularity attached to grand jury proceedings.” Ostrer v. Aronwald, 567 F.2d 551, 553-

554 (2d Cir. 1977), citing United States v. Costello, 350 U.S. 359 (1956). As defendant

has raised no argument to challenge the presumption of regularity afforded grand jury

proceedings, it is recommended that defendant’s motion to dismiss be denied.




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Suppression of Statements

              As defendant acknowledges there is no claim that any statements were

obtained from defendant (Dkt. #233, p.16), it is recommended that her motion to

suppress be denied.



Suppression of Physical Evidence

              As defendant acknowledges that there is no claim that any property of any

nature was seized from her apartment (Dkt. #233, p.17), it is recommended that her

motion to suppress be denied.



Suppression of Wire Interceptions

              Defendant claims that there was no necessity to obtain a wiretap to prove

her role in the conspiracy because there was no cause to believe that defendant was

anything more than the live-in girlfriend of one of the co-defendants. Dkt. #233, pp.17-

18.



              18 U.S.C. § 2518(10)(a) permits any aggrieved person to move to

suppress the contents of any intercepted communication on the grounds that the

communication was unlawfully intercepted; the order approving interception was

insufficient on its face; or the interception was not made in conformity with the

interception order. An “aggrieved person” is defined as “a person who was a party to

any intercepted wire, oral, or electronic communication or a person against whom the

interception was directed.” 18 U.S.C. § 2510(11).


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              As the defendant was neither a named target nor an interceptee on any of

the Title III interception orders at issue in this case, the burden is on defendant to

demonstrate standing by submitting sworn evidence, by affidavit or testimony, from the

defendant or someone with personal knowledge, establishing that it was the

defendant’s voice that was intercepted on the wiretap. United States v. Bellomo, 954 F.

Supp. 630, 639 (S.D.N.Y. 1997) (“Absent a sworn statement by [defendant] or someone

with personal knowledge averring that [defendant’s] voice was intercepted on the

cellular phone, he lacks standing to seek suppression of the evidence that the wiretap

on that phone produced.”). An unsworn assertion of the government’s representation

that defendant’s voice was intercepted is insufficient to establish standing. United

States v. Montoya-Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995). As defendant

has failed to aver that her voice was intercepted, it is recommended that her motion to

suppress be denied for lack of standing.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1), that:



              This Report, Recommendation and Order be filed with the Clerk of the

Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statute,

Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.


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               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:        Buffalo, New York
              June 15, 2012


                                            s/H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, Jr.
                                           United States Magistrate Judge




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